

ORDER

PER CURIAM.
AND NOW, this 1st day of March, 2005, upon consideration of the Report and Recommendations of the Disciplinary Board dated October 25, 2004, the Petition for Review with Request for Oral Argument and responses thereto, the Petition for Review and Request for Oral Argument are denied and it is hereby
ORDERED that JOSEPH EDWARD HUDAK be and he is SUSPENDED from the Bar of this Commonwealth for a period of one year and one day, with credit for four and one-half months served, and he shall comply with all the provisions of Rule 217, Pa.R.D.E
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Mr. Justice EAKIN dissents and would suspend respondent for a period of two years with credit for time served.
